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  8                           UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
  9
 10   NEHEMIAH KONG,                                       Case: 2:20-CV-11423-GW-AS
 11             Plaintiff,                                 Plaintiff’s Notice of Voluntary
                                                           Dismissal With Prejudice
 12      v.
 13   YEAGER FAMILY LIMITED                                Fed. R. Civ. P. 41(a)(1)(A)(i)
 14   PARTNERSHIP, a California Limited
      Partnership; and Does 1- 10,
 15
                Defendant.
 16
 17
 18           PLEASE TAKE NOTICE that Plaintiff Nehemiah Kong, hereby
 19   voluntarily dismisses the above captioned action with prejudice pursuant to
 20   Federal Rule of Civil Procedure 41(a)(1)(A)(i).
 21           Defendant Yeager Family Limited Partnership, a California Limited
 22   Partnership 1; have neither answered Plaintiff’s Complaint, nor filed a
 23   motion for summary judgment. Accordingly, this matter may be dismissed
 24   without an Order of the Court.
 25
 26   Dated: March 5, 2021                  CENTER FOR DISABILITY ACCESS
 27                                         By:      /s/Amanda Seabock
                                                     Amanda Seabock
 28                                                  Attorney for Plaintiff

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                   Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                                Federal Rule of Civil Procedure 41(a)(1)(A)(i)
